                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                             Case No. 25-MJ-376 (JFD)

 UNITED STATES OF AMERICA,                 )
                                           )
                             Plaintiff,    )
                                           )
               v.                          )   ORDER OF DETENTION
                                           )
 VANCE LUTHER BOELTER,                     )
                                           )
                             Defendant.    )


       This matter came before the Court on July 3, 2025, for a preliminary hearing on the

Complaint filed by the United States and a hearing on the United States’ motion for

detention. The defendant appeared in custody and was represented by Manny Atwal. The

United States was represented by Assistant United States Attorneys Harry M. Jacobs,

Daniel W. Bobier, Matthew D. Forbes, and Bradley M. Endicott.

       After being advised of his constitutional rights and consulting with counsel, the

defendant elected to waive his rights to both the preliminary and detention hearings. The

Court engaged the defendant in a colloquy and found on the basis of his responses that the

defendant’s waivers were knowingly, intelligently, and voluntarily made. Therefore, based

on the entire record before the Court and the defendant’s waiver, the Court finds that: (1)

the Complaint is supported by probable cause; (2) the United States has established by a

preponderance of the evidence that no condition or combination of conditions of release

will reasonably assure the defendant’s appearance at future proceedings; and (3) the United

States has established by clear and convincing evidence that no condition or combination
of conditions will reasonably assure the safety of the community. Accordingly, the Court

grants the United States’ motion for detention.

       For the foregoing reasons, IT IS HEREBY ORDERED that:

       1.   The motion of the United States for detention of the defendant is GRANTED;

       2.   The defendant is committed to the custody of the Attorney General for

confinement in a correctional facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal;

       3.   The defendant shall be afforded reasonable opportunity to consult privately

with counsel; and

       4.   Upon Order of the Court or request by the United States Attorney, the person

in charge of the corrections facility in which the defendant is confined shall deliver The

defendant to the United States Marshal for the purpose of appearance in connection with

further court proceedings.

Dated: July 8, 2025



                                          s/Douglas L. Micko
                                          DOUGLAS L. MICKO
                                          United States Magistrate Judge




                                            2
